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                     EXHIBIT 5A
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 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                         SAN JOSE DIVISION
11 APPLE INC., a California corporation,

12                Plaintiff,
                                                    CASE NO. 12-CV-00630-LHK
13         v.
14 SAMSUNG ELECTRONICS CO., LTD., a                 DECLARATION OF BJÖRN BRINGERT
   Korean corporation; SAMSUNG
15 ELECTRONICS AMERICA, INC., a New                 FILED UNDER SEAL
   York corporation, and SAMSUNG
16 TELECOMMUNICATIONS AMERICA,                      HIGHLY CONFIDENTIAL –
   LLC, a Delaware limited liability company,       ATTORNEYS’ EYES ONLY
17
                 Defendants.                        CONFIDENTIAL BUSINESS
18                                                  INFORMATION OF NON-PARTY
   SAMSUNG ELECTRONICS CO., LTD., a                 GOOGLE INC.
19 Korean corporation; SAMSUNG
   ELECTRONICS AMERICA, INC., a New
20 York corporation, and SAMSUNG
   TELECOMMUNICATIONS AMERICA,
21 LLC, a Delaware limited liability company,

22                Counterclaim-Plaintiff,
23         v.
24 APPLE INC., a California corporation,

25                Counterclaim-Defendant
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 1          I, Björn Bringert, declare as follows under 28 U.S.C. § 1746:

 2          1.      I am a Software Engineer for Google Inc. (“Google”). I have personal knowledge

 3 of the facts stated below, and if called to testify, I could and would testify as follows.

 4          2.      I have been employed at Google since 2009. I work on the Android team. As part

 5 of my work on Android, I was involved in developing some portions of version 4.0 of Android,

 6 which is also called Ice Cream Sandwich.

 7          3.      Within Android Ice Cream Sandwich, there are many versions of Android. Some

 8 versions are internal to Google; others are posted on the Android Open Source Project; still other

 9 versions are used in devices sold to consumers. One device sold to consumers running a version

10 of Android Ice Cream Sandwich is the Samsung Galaxy Nexus. For the rest of this declaration, I

11 will discuss the version of Android Ice Cream Sandwich running on the Samsung Galaxy Nexus.

12 There are actually several sub-versions of Android Ice Cream Sandwich running on the Samsung

13 Galaxy Nexus, but they do not vary with regard to my descriptions below.

14          4.      Users of Android Ice Cream Sandwich running on the Samsung Galaxy Nexus can

15 access a feature called the Quick Search Box. For example, the Quick Search Box is available by

16 tapping the word “Google” at the top of the Launcher Activity. The Launcher Activity contains a

17 grid of icons representing applications, and is often considered the “home screen” of the device.

18 Once the user taps on the word “Google” at the top of the Launcher Activity, the device will

19 launch the Quick Search Box Activity, which will allow the user to input text using the keyboard.

20          5.      Applications installed on the device may declare that they can provide content to

21 the Quick Search Box. When the user inputs text using the keyboard, the Quick Search Box

22 Activity sends Android ContentProvider queries to applications that have made this declaration.

23 When an application receives a ContentProvider query, it may return content as the result of this

24 query. For example, when an application receives the user’s input from the Quick Search Box

25 Activity, it may return proposed search results for the user’s input. To find these proposed results,

26 the application may perform its own search – although Android does not require it to do so. It can

27 perform this search using any mechanism. It could also generate the content using some

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 1 mechanism other than searching. For example, the application could compute the value of

 2 arithmetic expressions in the input, or translate the input into another language.

 3          6.     As shipped, the Samsung Galaxy Nexus contains seven applications that receive

 4 the user’s input from the Quick Search Box Activity: ApplicationsProvider, Books, Browser,

 5 Messaging, Music, People, and Videos. In addition, the Quick Search Box Activity transmits the

 6 user’s input to remote Google servers, and can receive in return potential completions for the

 7 search term, such as suggestions for “british embassy” and “british empire” when the user has

 8 typed “british em.” The Quick Search Box Activity can also receive in return potentially relevant

 9 websites, such as link to “www.facebook.com” when the user has typed “facebook” into the Quick

10 Search Box Activity. These responses are generated by the remote Google servers, not by the

11 device. The source code used by the remote Google servers to generate responses is proprietary to

12 Google and kept confidential; it is not part of Ice Cream Sandwich and it is not available in the

13 Android Open Source Project.

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23          8.     Code implementing the functionality I have described above – including the Quick

24 Search Box Activity’s creation of ContentProvider queries containing the user’s input,

25 transmission of those queries to any applications interested in receiving them, and receipt of

26 proposed results from those applications – has been available in the Android Open Source Project

27 since 2009, when the open-source version 1.6 of Android was made available on the Internet.

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